Case 4:19-cv-13449-SDD-EAS ECF No. 35, PageID.1948 Filed 05/07/21 Page 1 of 9




                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 ROBERT AMBROSE, SCOTT
 BARNES, RICHARD CHAPMAN,
 RYAN CIRIGNANO, CHRIS
 FAUSSETT, MILAN GRUJIC, DAVID
 KELLER, JOHN KOBEL, DANIEL
 LAWSON, STEPHEN LUTSK, LORI            Case No.: 4:19-cv-13449
 MAGALLANES, NOAM MEIER,
 ERIC OSTRANDER, ROBERT                 Hon. Stephanie Dawkins Davis
 OVERTURF, and MIKE WORONKO,
 on behalf of themselves and all others
 similarly situated,

             Plaintiffs,

       v.

 GENERAL MOTORS LLC,

             Defendant.


       PLAINTIFFS’ MOTION FOR LEAVE TO FILE NOTICE OF
                  SUPPLEMENTAL AUTHORITY

      1.    Counsel for Plaintiffs in the above-referenced matter write to inform

the Court of a recent ruling in the Eastern District of Michigan regarding General

Motors LLC’s (“GM’s”) motion to dismiss in Chapman, et. al. v. General Motors

LLC, No. 2:19-cv-12333-TGB-DRG (E.D. Mich.), which involves multistate

allegations regarding a defective CP4 fuel pump.




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      2.     Because the Chapman opinion implicates some of the same issues at

issue in this litigation, Plaintiffs wish to file the attached Notice of Supplemental

Authority for the purpose of bringing this case to this Honorable Court’s attention

(attached hereto at Exhibit 1).

      3.     Pursuant to Local Rule 7.1, the undersigned counsel certifies that

Plaintiffs’ counsel communicated with Defendant’s counsel on May 6, 2021, and

Defendant’s counsel stated that it does not oppose Plaintiffs seeking to file this

Notice of Supplemental Authority.

      WHEREFORE, Plaintiffs respectfully request that the Court grant Plaintiffs’

Motion for Leave to File the attached Notice of Supplemental Authority.


DATED: May 7, 2021                     Respectfully submitted,

                                       /s/ E. Powell Miller_____
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                                       Dennis A. Lienhardt (P81118)
                                       William Kalas (P82113)
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                                       Nicholas A. Migliaccio
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                                       Jason S. Rathod

                                         2
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                                     Attorneys for Plaintiffs and the
                                     Putative Class




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                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


 ROBERT AMBROSE, SCOTT
 BARNES, RICHARD CHAPMAN,
 RYAN CIRIGNANO, CHRIS
 FAUSSETT, MILAN GRUJIC, DAVID
 KELLER, JOHN KOBEL, DANIEL
 LAWSON, STEPHEN LUTSK, LORI            Case No.: 4:19-cv-13449
 MAGALLANES, NOAM MEIER,
 ERIC OSTRANDER, ROBERT                 Hon. Stephanie Dawkins Davis
 OVERTURF, and MIKE WORONKO,
 on behalf of themselves and all others
 similarly situated,

            Plaintiffs,

       v.

 GENERAL MOTORS LLC,

            Defendant.


 BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE TO FILE
            NOTICE OF SUPPLEMENTAL AUTHORITY




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                   STATEMENT OF ISSUE PRESENTED
      1.    Whether Plaintiffs should be granted leave to file a Notice of

Supplemental Authority?

      Plaintiffs’ Answer: Yes.




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                   MOST APPROPRIATE AUTHORITY

E.D. Michigan Local Rule 7.1




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      Plaintiffs, by and through their undersigned attorneys and in support of their

Motion for Leave to File the attached Notice of Supplemental Authority (attached

hereto at Exhibit 1), rely on the contents of Plaintiffs’ Motion, and the authorities

cited therein.


DATED: May 7, 2021                     Respectfully submitted,

                                       /s/ E. Powell Miller_____
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                                     Attorneys for Plaintiffs and the
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 7, 2021, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system which will send

notification of such filing to all attorneys of record.

                                         /s/ E. Powell Miller
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